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                     EXHIBIT 1
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                  SECOND SUPPLEMENTAL CERTIFICATE OF SERVICE

         I hereby certify that on November 13, 2017, I electronically filed the Motion to Proceed

  Under Pseudonyms (with its initial certificate of service and supporting materials) with the Clerk

  of the Court using the CM/ECF system, and entered as Docket Entry 98. On November 27,

  2017, I electronically filed a First Supplemental Certificate of Service for said motion (see

  Docket Entry 121-1). I hereby further certify, on December 12, 2017, that I have also served the

  following additional non-ECF participants with said notice, via U.S. mail, First Class and

  postage prepaid:


  Moonbase Holdings, LLC
  c/o Andrew Anglin
  6827 N. High Street, Suite 121
  Worthington, OH 43085
  (Last-known address)

  Andrew Anglin
  6827 N. High Street, Suite 121
  Worthington, OH 43085
  (Last-known address)

  Richard Spencer
  645 Woodland Place, Apt. 3
  Whitefish, MT 59937
  (Last-known address)

  East Coast Knights of the Ku Klux Klan
  a/k/a East Coast Knights of the True Invisible Empire
  26 South Pine St.
  Red Lion, PA 17356
  (Last-known address)

  Fraternal Order of the Alt-Knights (c/o Proud Boys)
  c/o LegalCorp Solutions, LLC
  11 Broadway, Suite 615
  New York, NY 10004
  (Last-known address)
Case 3:17-cv-00072-NKM-JCH Document 153-1 Filed 12/12/17 Page 3 of 3 Pageid#: 684




  Augustus Sol Invictus
  206 N. Mills Avenue
  Orlando, FL 32801
  (Last-known address)

  Loyal White Knights of the Ku Klux Klan
  a/k/a Loyal White Knights Church of the Invisible Empire, Inc.
  c/o Amanda Barker
  P.O. Box 54
  Pelham, NC 27311


                                                     s/ Robert T. Cahill
                                                     Robert T. Cahill (VSB 38562)
                                                     COOLEY LLP
                                                     11951 Freedom Drive, 14th Floor
                                                     Reston, VA 20190-5656
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                                                     Counsel for Plaintiffs




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